*sCJA 24 AUTHORIZATION AND VOUCHER FOR PAYMENT OF TRANSCRIPT (Rev. O1/0K)

PERSON REPRESENTED

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5, APPEALS DKT/DEF. NUMBER

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7 IN CASEIMATTER oe (Coxe Nang) K. PAYMENT CATEGORY

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14 SPECIAL AUTHORIZATIONS
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1S. ATTONNEY'S STATEMENT 1h, COURT ORDER
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